                                Case 1:25-cv-00465-AHA                          Document 1-4             Filed 02/18/25       Page 1 of 2

           $2 5HY'& 6XPPRQVLQD&LYLO$FWLRQ


                                                     81,7('67$7(6',675,&7&2857
                                                                                           IRUWKH
                                                                           District of Columbia
                                                                     BBBBBBBBBB'LVWULFWRIBBBBBBBBBB




           8QLWHG6WDWHV&RQIHUHQFHRI&DWKROLF%LVKRSV

                                          3ODLQWLII V
                                               Y                                                    &LYLO$FWLRQ1R 1:25-cv-465
8QLWHG6WDWHV'HSDUWPHQWRI6WDWH0DUFR5XELRLQKLVRIILFLDOFDSDFLW\DV6HFUHWDU\RI6WDWH
'HSDUWPHQWRI6WDWH%XUHDXRI3RSXODWLRQ5HIXJHHVDQG0LJUDWLRQ'HSDUWPHQWRI6WDWH
-HQQLIHU'DYLVLQKHURIILFLDOFDSDFLW\DV3ULQFLSDO'HSXW\$VVLVWDQW6HFUHWDU\%XUHDXRI
3RSXODWLRQ5HIXJHHVDQG0LJUDWLRQ'HSDUWPHQWRI6WDWH8QLWHG6WDWHV'HSDUWPHQWRI
+HDOWKDQG+XPDQ6HUYLFHVDQG5REHUW).HQQHG\-ULQKLVRIILFLDOFDSDFLW\DV6HFUHWDU\
RI+HDOWKDQG+XPDQ6HUYLFHV'HSDUWPHQWRI+HDOWKDQG+XPDQ6HUYLFHV
                                         'HIHQGDQW V


                                                                     SUMMONS IN A CIVIL ACTION

           7R 'HIHQGDQW¶VQDPHDQGDGGUHVV
                                %XUHDXRI3RSXODWLRQ5HIXJHHVDQG0LJUDWLRQ
                                'HSDUWPHQWRI6WDWH
                                7KH([HFXWLYH2IILFHRIWKH/HJDO$GYLVHUDQG
                                %XUHDXRI/HJLVODWLYH$IIDLUV6XLWH
                                WK6WUHHW1:
                                :DVKLQJWRQ'&
                      $ODZVXLWKDVEHHQILOHGDJDLQVW\RX

                   :LWKLQGD\VDIWHUVHUYLFHRIWKLVVXPPRQVRQ\RX QRWFRXQWLQJWKHGD\\RXUHFHLYHGLW ²RUGD\VLI\RX
           DUHWKH8QLWHG6WDWHVRUD8QLWHG6WDWHVDJHQF\RUDQRIILFHURUHPSOR\HHRIWKH8QLWHG6WDWHVGHVFULEHGLQ)HG5&LY
           3  D  RU  ²\RXPXVWVHUYHRQWKHSODLQWLIIDQDQVZHUWRWKHDWWDFKHGFRPSODLQWRUDPRWLRQXQGHU5XOHRI
           WKH)HGHUDO5XOHVRI&LYLO3URFHGXUH7KHDQVZHURUPRWLRQPXVWEHVHUYHGRQWKHSODLQWLIIRUSODLQWLII¶VDWWRUQH\
           ZKRVHQDPHDQGDGGUHVVDUH
                                                        'DYLG&DVD]]D
                                                        *LEVRQ'XQQ &UXWFKHU//3
                                                        06WUHHW1:
                                                        :DVKLQJWRQ'&


                  ,I\RXIDLOWRUHVSRQGMXGJPHQWE\GHIDXOWZLOOEHHQWHUHGDJDLQVW\RXIRUWKHUHOLHIGHPDQGHGLQWKHFRPSODLQW
           <RXDOVRPXVWILOH\RXUDQVZHURUPRWLRQZLWKWKHFRXUW



                                                                                                        $1*(/$'&$(6$5&/(5.2)&2857


           'DWH
                                                                                                                  6LJQDWXUHRI&OHUNRU'HSXW\&OHUN
                    Case 1:25-cv-00465-AHA                    Document 1-4         Filed 02/18/25            Page 2 of 2

$2 5HY 6XPPRQVLQD&LYLO$FWLRQ 3DJH

 &LYLO$FWLRQ1R 1:25-cv-465

                                                      PROOF OF SERVICE
                      (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           7KLVVXPPRQVIRU QDPHRILQGLYLGXDODQGWLWOHLIDQ\
 ZDVUHFHLYHGE\PHRQ GDWH                                           

           u ,SHUVRQDOO\VHUYHGWKHVXPPRQVRQWKHLQGLYLGXDODW SODFH
                                                                                 RQ GDWH                              RU

           u ,OHIWWKHVXPPRQVDWWKHLQGLYLGXDO¶VUHVLGHQFHRUXVXDOSODFHRIDERGHZLWK QDPH
                                                                  DSHUVRQRIVXLWDEOHDJHDQGGLVFUHWLRQZKRUHVLGHVWKHUH
           RQ GDWH                                 DQGPDLOHGDFRS\WRWKHLQGLYLGXDO¶VODVWNQRZQDGGUHVVRU

           u ,VHUYHGWKHVXPPRQVRQ QDPHRILQGLYLGXDO                                                                        ZKRLV
           GHVLJQDWHGE\ODZWRDFFHSWVHUYLFHRISURFHVVRQEHKDOIRI QDPHRIRUJDQL]DWLRQ
                                                                                 RQ GDWH                              RU

           u ,UHWXUQHGWKHVXPPRQVXQH[HFXWHGEHFDXVH                                                                               RU

           u 2WKHU VSHFLI\ 
                                                                                                                                            


           0\IHHVDUH                            IRUWUDYHODQG                  IRUVHUYLFHVIRUDWRWDORI          0.00          


           ,GHFODUHXQGHUSHQDOW\RISHUMXU\WKDWWKLVLQIRUPDWLRQLVWUXH


 'DWH
                                                                                              6HUYHU¶VVLJQDWXUH



                                                                                            3ULQWHGQDPHDQGWLWOH




                                                                                              6HUYHU¶VDGGUHVV

 $GGLWLRQDOLQIRUPDWLRQUHJDUGLQJDWWHPSWHGVHUYLFHHWF
